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Ul\'lTED STATES DISTRICT COURT FOR
THE N()R'I`HER.N DlSTRlCT ()F MlSSlSSlP`Pl

 

 

Sarah Morris, Case No.‘, '.B' l CC"-, C, Vr\ 77/\ /(\J\P N\" lZ/P
Plaintif`f`.
ORIGlNAL COMPLAINT
'\/'S. WITH JU'RY TR_IAL DEMAND

 

.Ion Barry & Associates. Inc.,

[)efendant.

 

()RlGiNAL C()MPLAINT
TO THE HONORABLE UNITED STATES DlSTRlCT .IUDGE:
PRELIMINARY STATEN[ENT
'l`his action for statutory damages is based on Defendant’s frequent and unauthorized calls to
Plaintift"s cellular telephone to collect a purported consumer debt. Plaintit`f seeks monetary relief
based on Del"endant’s violations of the Telephone Consumer Prolection Acl (“TCPA"`), 47
U.S.C. § 227 el Seq.

PARTIES

l_ Plaintil'"f, Sarah Morris. is, and all times mentioned herein was, a natural person Who resides in

Tunica (.`ounly1 Mississippi.

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2. Defendant, Jon Ban‘y & Associates, lnc., DBA Paragon Revenue Group, is a corporation
organized under the laws of the State of North Carolina and doing business in Mississippi and in

the County of Tuniea, within this judicial district.
3. Defendant is an entity Who at all relevant times Was engagcd, by use of the mails and
telephone, in the business of attempting to collect a “debt” from Plaintiff, as defined by FDCPA,
15 USC. §16923(5).
4. Defendant is a “debt collector” as defined by FDCPA, 15 USC § 1692a(6).
5. At all relevant times hereto, Defendant acted through its agents, employees, officers,
members, directors, and/or representatives

JURISDICTION AND VENUE '
6. This Court has federal question jurisdiction over Plainti_£l”s TCPA claim pursuant to 28 USC
§ 1331 and 47 USC § 227(b)(3`). See Mims v. Arrow.l"`in. Serv., LLC. 132 S. Ct. 740. 753 (20|2)

(holdi.ng federal district courts have federal question jurisdiction over TC_PA claims).

7. This Court has personal jurisdiction over Dcfendant because Det`endant frequently and

routinely conducts business in the State of Mississippi, including the conduct contained herein.

8. Pursuant to 28 USC § 1391, venue is proper in the Northern District of Mississippi because a

substantial part of the events or omissions giving rise to the claims occurred in this district
FACTUAL ALLEGATIONS

9. Plaint'il"[" is the subscriber for the cellular telephone with the number 662-719-8725 (the “Cell
Phone”).

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10. Beginning no later than Septcmbcr 7’th, 2017, Plaintit`fbegan receiving calls on her Cell

Phone from Defendant seeking to collect a debt.

l 1. Det`endant"s calls to Plaintiff were made from phone number 800-560-6169.

12. Phone number 800-560-6169 is a number that is controlled or utilized by Defendant.

13. From September 7’th, 2017 to January 16’th, 2018 Plaintift` received at least twenty-four (24)

similar ealls.

14. When Plaintiff answered calls from Defendant, she heard pauses and/or clicks and a delay at

the beginning of the calls.

15. Upon information and belicf, Defendant used an auto dialer and/or predictive dialing

equipment to make its calls to Plaintit`f.

|6. Upon information and belie.l.`, De l.`endant used a computer or pre-recorded message to leave

twenty-four (24) voieemalls all with the same message and duration.

17. Plaintiff never provided consent for Defendant to call Plaintiff on Cell Phone.

18. Dei`endant"s calls to Plaintift` had no emergency purpose as defined by 47 U.S.C. §
227(b)(1)(A)(iii).

19. Rather. Defendant advised Plaintift` that its calls were for the purpose of consumer debt

collection

20. On September 7, 2017 Defendant called Plaintift’s Cell Phone at 14:26 CS'I` from 800-560-
6169 using auto-dialer technology without prior permission in violation of the TCPA 47 U.S.C. §

227(b)(3)(B) and lel"t a pre-recorded or computer generated 'voicemai| message

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21. On September l 1, 2017 Defendant called Plaintift"s Cell Phone at 12:05 CST from 800-560-
6169 using auto-dialer technology without prior permission in violation of the TCPA 47 U.S.C. §

227(b)(31(B) and left a pre-recorded or computer generated voicemail message

22. On September 13, 2017 Dcfendant called Plaintifi`s Cell Phone at 10;32 CST from 800-560-
6169 using auto-dialer technology without prior permission in violation of the TCPA 47 U.S.C. §

227(b)(3)(B) and left a prc-recorded or computer generated voicemail message

23. On September 15, 2017 Defendant called Plaintift"s Cell Phone at 09:05 CST from 800-560-
61| 69 using auto-dialer technology without prior permission in violation ol` the TCPA 47 U.S.C. §

227(b)(3)(B) and left a pre-recorded or computer generated voicemail message

24. On September 19, 2017 Dct`endant called Plaintit`t"s Cell Phone at 10:42 CST from 800-560-
6169 using auto-dialer technology without prior permission in violation of the TCPA 47 U.S.C. §

227(b)(3)(B) and left a pre-recorded or computer generated voiccmail message

25. On September 21 , 2017 De;fendant called Plaintifl"s Cell Phone at 08:47 CST .l:`ro'm 800-560-
6169 using auto-dialer technology without prior pennission in violation ot` the TCPA 47 U.S.C. §

227(b)(3)(B) and left a pre-recorded or computer generated voieemail message

26. On September 26, 2017 Dei`cndant called Plaintifi`s Cell Phone at 17:02 CST from 800-560-
6169 using auto-dialer technology without prior permission in violation ot` the TCPA 47 U.S.C. §

227(b)(3)(B) and lel` t a pre-recorded or computer generated voicemail message

27. On September 28, 2017 Det`endant called P|aintift`s Cell Phone at 10:43 CST from 800-560-
6169 using auto-dialer technology without prior permission in violation ofthe TCPA 47 U.S.C. §

22 7(b)(3)(B) and left a pre-recorded or computer generated voicemail message

28. On September 30, 2017 Del`endant called Plaintist Cell Phone at 08: 12 CST from 800-560-
6169 using auto-dialer technology without prior permission in violation ol;` the "l"CPA 47 U.S.C. §

227(b)(3)(B) and left a pre-recorded or computer generated voicemail message

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29. On October 3, 2017 Det`enda.nt called Plaintift`s Cell Phone at 08:05 CST from 800-560-
6169 using auto-dialer technology without prior permission in violation ol;` the TCPA 47 U.S.C. §

227(b)(3)(B) and left a pre-recorded or computer generated voicemail message

30. On October 5, 2017 Det`endant called Plaintit`t`s Cell Phone at 09:37 CST from 800~560~
6169 using auto-dialer technology without prior pemiission in violation of the TCPA 47 U.S.C. §

22 7(b)(3)(B) and left a pre-recorded or computer generated voiceinail message

31. On October 10, 2017 Dei`endant called Plaintift’s Cell Phone at 08:04 CST from 800-560-
6169 rising auto-dialer technology without prior permission in violation 01` the TCPA 47 U.S.C. §

227(b)(3)(B) and left a pre-recorded or computer generated voicemail message

32. Oii October 12, 2017 Defendant called Plaintift’ s Cell Phone at 10:03 CST from 800-560-
6169 using auto-dialer technology Without prior permission in violation of the TCPA 47 U.S.C. §

227(b)(3)(B) and left a pre-recorded or computer generated voicemail message

33. On October 12, 2017 Defendant called Plaintit`t`s Celi Phone at 10:03 CST from 800-560-
6169 using auto~dialer technology without prior permission in violation of the TCPA 47 U.S.C. §

227(b)(3)('B) and lett a pre-recorded or computer generated voicemail message

34. On October 16, 2017 Defendant called Plaintifi"s Cell Phone at 12:18 CST from 800-560-
6169 rising auto-dialer technology without prior permission in violation of the TCPA 47 U.S.C. §

227(b)(3)(B) and left a pre-recorded or computer generated voicemail message

35. On October 18. 2017 Det`endant called P|aintit`f’s Cell Phone at 10:38 CST from 800-560-
6169 using auto-dialer technology without prior permission in violation of the TCPA 47 U.S.C. §

227(b)(3)(B) and left a pre-recorded or computer generated voiecmail message

36. On October 20, 2017 Defendant called Plaintiff`s Cell Phone at 08:07 CST from 800-560-

6169 using auto~dialer technology without prior permission in violation of the TCPA 47 U.S.C. §

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227(b)(3)(B) and left a pre-recorded or computer generated voicemail message

37. On October 24, 2017 Defendant called Plaintifi`s Cell Phone at 08:03 CST from 800-560-
6169 using auto-dialer technology without prior permission in violation of the TCPA 47 U.S.C. §

227(b)(3)(B) and left a pre-recorded or computer generated voicemail message

38. On October 26, 2017 Dct`endant called Plaintif`t` s Cell Phone at 08:03 CST from 800-560-
6169 using auto-dialer technology without prior permission in violation of the TCPA 47 U.S.C. §

227(b)(3)(_B) and left a pre-recorded or computer generated voieemail message

39. 0n October 31, 2017 Defendant called Plaiiitift’s Cell Phone at 11:23 CST from 800-560-
6169 using auto-dialer technology without prior permission in violation of the TCPA 47 U.S.C. §

227 (b)( 3)(B) and left a pre-recorded or computer generated voicemail message.

40. On November 2, 2017 Defcndant called Plaintift`s Cell Phone at 08:45 CST from 800-560-
6169 using auto-dialer technology without prior permission in violation 01:` the TCPA 47 U.S.C. §

227(b)(3)(B) and lel`t a pre-recorded or computer generated voicemail message

41. On November 7` 2017 Defendant called Plaintit`t`s Cell Phone at 08:53 CST from 800-560-
6169 using auto-dialer technology without prior permission in violation of the TCPA 47 U.S.C. §

227(b)(3)(B) and left a prc-recorded or computer generated voiccmail message

42. Oii November 21, 2017 De't`eiidant called Plaintifl"’s Cell Phone at 15:31 CST from 800-560-
6169 using auto~dialer technology without prior permission in violation ot` the TCPA 47 U.S.C. §

227(1))(3)(13) and left a pre-recorded or computer generated voi,cemail message

43. On December 21, 2017 Defendant called Plaintiff’s Cell Phone at 13:47 CST from 800-560-
6169 using auto-dialer technology without prior permission in violation of the TCPA 47 U.S.C. §

227(1))(3)(B) and left a pre-recorded or computer generated voicemail message

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44. On Januar'y 16, 2018 Det`endant called Plaintiff’ s Cell Phone at |2: 19 CST from 800-560-
6169 using auto-dialer technology Without prior permission in violation of the TCPA 47 U.S.C. §

227(b)(3)(B) and left a pre-recorded or computer generated voiceiriail message

45 . The contents of each voiceinail from Defendant stated the following: “We have an important
message from Paragon Revenue Group. This is a call from a debt collector. Please ca11 844-417-
0384.”

46. '.l`he duration of each voiecrnail from Defcndant Was seventeen (17) seconds.

CAUSES OF ACTION
COUNT I
VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT 47 USC § 227

47. Plaintiff repeats and re-alleges each and every allegation above

48. Defendant violated the Telephone Consumer Protection Act in one or more of the

following ways:

a) Defendarit violated Telephone Consumer Protection Aet 47 U.S.C. § 227 by
calling Plairitiff’s Cell Phone using auto-dialer technology Without the consent
of the Plaintiff. Plaintiff is entitled to an award of $500.00 in statutory
damages for each and every violation, pursuant to 47 U.S.C. § 227(b](3] [B).

WHEREFORE, Plaintiff prays that judgment be entered against Defendant for:

a) Adjudging that Defendant violated the TCPA.

b) Statutory damages of at least $500 per phone call, pursuant to TCPA 47 USC §
227(b] [3][B], for a total of $12,000.

c] Awarding Plaintiff reasonable costs.

d] Such other and further relief as may be just and proper.

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TRIAL BY |URY

` 49. Plaintiff requests a trial by jury.

Respectfully submitted this 7“‘ day of l\/larch, 2018.

 

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Robinsonville, MS 38664
662-719-8725

